         Case 1:17-ap-01101-MB Doc 76 Filed 02/22/20 Entered 02/22/20 21:33:38                                               Desc
                             Imaged Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
Matthew Pliskin, as Trustee of the Trust,
         Plaintiff                                                                                Adv. Proc. No. 17-01101-MB
Radians Wareham Holding, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: admin                        Page 1 of 1                          Date Rcvd: Feb 20, 2020
                                      Form ID: pdf031                    Total Noticed: 0


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 22, 2020.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp              Matthew Pliskin
pla               Matthew Pliskin, as Trustee of the Trust Created U
dft               Radians Wareham Holding, Inc.
dft               Radians, Inc.
dft               Safety Supply Corporation
                                                                                                                    TOTALS: 5, * 0, ## 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 22, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2020 at the address(es) listed below:
              Natalie B. Daghbandan   on behalf of Defendant   Radians, Inc. natalie.daghbandan@bryancave.com,
               raul.morales@bryancave.com;theresa.macaulay@bryancave.com
              Natalie B. Daghbandan   on behalf of Defendant   Radians Wareham Holding, Inc.
               natalie.daghbandan@bclplaw.com, raul.morales@bryancave.com;theresa.macaulay@bryancave.com
              Natalie B. Daghbandan   on behalf of Defendant   Safety Supply Corporation
               natalie.daghbandan@bryancave.com, raul.morales@bryancave.com;theresa.macaulay@bryancave.com
              Samuel R Maizel   on behalf of Plaintiff   Matthew Pliskin, as Trustee of the Trust Created Under
               the Joint Plan of Liquidation Dated February 9, 2018 samuel.maizel@dentons.com,
               alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.ho
               ward@dentons.com;joan.mack@dentons.com;derry.kalve@dentons.com
              Sharon Z. Weiss   on behalf of Defendant   Radians, Inc. sharon.weiss@bclplaw.com,
               raul.morales@bclplaw.com
              Sharon Z. Weiss   on behalf of Defendant   Radians Wareham Holding, Inc. sharon.weiss@bclplaw.com,
               raul.morales@bclplaw.com
              Sharon Z. Weiss   on behalf of Defendant   Safety Supply Corporation sharon.weiss@bclplaw.com,
               raul.morales@bclplaw.com
              Tania M Moyron   on behalf of Interested Party Matthew Pliskin tania.moyron@dentons.com,
               chris.omeara@dentons.com;nick.koffroth@dentons.com;Sonia.martin@dentons.com;Isabella.hsu@dentons.
               com;lee.whidden@dentons.com;Jacqueline.whipple@dentons.com
              Tania M Moyron   on behalf of Plaintiff   Matthew Pliskin, as Trustee of the Trust Created Under
               the Joint Plan of Liquidation Dated February 9, 2018 tania.moyron@dentons.com,
               chris.omeara@dentons.com;nick.koffroth@dentons.com;Sonia.martin@dentons.com;Isabella.hsu@dentons.
               com;lee.whidden@dentons.com;Jacqueline.whipple@dentons.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                             TOTAL: 10
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                                             1   SAMUEL R. MAIZEL (Bar No. 189301)
                                                 samuel.maizel@dentons.com
                                             2   TANIA M. MOYRON (Bar No. 235736)
                                                 tania.moyron@dentons.com                                      FILED & ENTERED
                                             3   ARTHUR H. RUEGGER (admitted pro hac vice)
                                                 arthur.ruegger@dentons.com
                                             4   DENTONS US LLP                                                      FEB 20 2020
                                                 601 South Figueroa Street, Suite 2500
                                             5   Los Angeles, California 90017-5704
                                                 Telephone: (213) 623-9300; Facsimile: (213) 623-9924           CLERK U.S. BANKRUPTCY COURT
                                                                                                                Central District of California
                                             6                                                                  BY Cetulio DEPUTY CLERK
                                                 Attorneys for Trustee and Trust Board
                                             7
                                                                               UNITED STATES BANKRUPTCY COURT
                                             8                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                    SAN FERNANDO VALLEY
                                             9
                                                     In re:
                                            10                                                       Lead Case No.: 1:17-bk-12408-MB
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                                     ICPW LIQUIDATION CORPORATION, a                 Jointly administered with: 1:17-bk-12409-
                                            11       California corporation,1                        MB; Chapter 11 Cases
         DENTONS US LLP




                                            12                 Debtor and Debtor in Possession.      Adv. Proc. No.: 1:17-ap-01101-MB
            (213) 623-9300




                                            13       In re:
                                            14                                                       ORDER APPROVING STIPULATION
                                                     ICPW LIQUIDATION CORPORATION, a                 RE SETTLEMENT AGREEMENT,
                                                     Nevada corporation,2                            RELEASE OF FUNDS AND
                                            15
                                                                                                     DISMISSAL OF ADVERSARY
                                                               Debtor and Debtor in Possession.      PROCEEDING [RELATES TO
                                            16
                                                                                                     DOCKET NOS.73, 74]]
                                            17
                                                     MATTHEW PLISKIN, AS TRUSTEE OF
                                            18       THE TRUST CREATED UNDER THE
                                                     JOINT PLAN OF LIQUIDATION DATED                 [No Hearing Required]
                                            19       FEBRUARY 9, 2018,
                                            20                        Objector and Plaintiff,
                                            21         - against -
                                            22       RADIANS WAREHAM HOLDING, INC.,
                                            23                Claimant and Defendant.
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                                            28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                                 2
                                                     Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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                                             1            The Court, having considered the Stipulation re Settlement Agreement, Release of Funds

                                             2 and Dismissal of Adversary Proceeding WKH³Stipulation´ >'RFNHW1R@E\DQGDPRQJMatthew

                                             3 3OLVNLQDV7UXVWHHRIWKH7UXVW WKH³Trustee´ created under the Joint Plan of Liquidation, dated

                                             4 February 9, 2018, in In re ICPW Liquidation Corporation, a California corporation, et al., Lead

                                             5 Case No.: 1:17-bk-12408-MB, in the United States Bankruptcy Court for the Central District of

                                             6 California, San Fernando Valley Division, on the one hand, and Radians Wareham Holding, Inc.

                                             7   ³RWHI´ RQWKHRWKHUDQGJRRGFDXVHDSSHDULQJ

                                             8            HEREBY ORDERS AS FOLLOWS:

                                             9       1.   The Stipulation is approved;

                                            10       2.   7KH7UXVWHH¶VREOLJDWLRQWRUHVHUYHWKH)XQGV DVGHILQHGLQWKH6WLSXOation) is discharged,
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                            11 and the Trustee is no longer required to hold the Agreed Class 3 Reserve Fund in the amount in the
         DENTONS US LLP




                                            12 Account (as defined in the Stipulation);
            (213) 623-9300




                                            13       3.   The Adversary Proceeding is hereby dismissed with prejudice; and

                                            14       4.   Upon receipt of the Payment (as defined in the Settlement Agreement), RWHI waives any

                                            15 right or entitlement to further distribution on account of the claims set forth in the Proofs of Claim

                                            16 (as defined in the Stipulation).

                                            17            IT IS SO ORDERED.

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                                                 Date: February 20, 2020
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